              Case 20-10343-LSS   Doc 6099-3   Filed 08/20/21   Page 1 of 4




                                  EXHIBIT B




26437925.15
                     Case 20-10343-LSS           Doc 6099-3      Filed 08/20/21    Page 2 of 4
Patton, James L., Jr., Future Claimants' Representative         Invoice Date:                August 11, 2021
                                                                Invoice Number:                   50026391
                                                                Matter Number:                 077494.1001

Cost Detail

Date            Description                                                       Quantity        Amount
06/23/21        Teleconference - Payee: Soundpath Confer Services, LLC                1.00            4.24
07/01/21        Photocopy Charges Duplication                                        26.00            2.60
07/06/21        Photocopy Charges Duplication                                       150.00           15.00
07/06/21        Transportation (one way) for E. Harron and R. Brady from              1.00          275.00
                Ocean City, NJ to Philadelphia airport re: 6/29/29 mediation
                in Los Angeles, CA
07/06/21        Photocopy Charges Duplication                                         7.00            0.70
07/06/21        Photocopy Charges Duplication                                         8.00            0.80
07/07/21        Photocopy Charges Duplication                                        14.00            1.40
07/07/21        Photocopy Charges Duplication                                       150.00           15.00
07/07/21        Photocopy Charges Duplication                                         6.00            0.60
07/07/21        Photocopy Charges Duplication                                       522.00           52.20
07/07/21        Photocopy Charges Duplication                                       522.00           52.20
07/07/21        Photocopy Charges Duplication                                        65.00            6.50
07/07/21        Photocopy Charges Duplication                                        14.00            1.40
07/08/21        Color Photocopy Charges Duplication                                   7.00            5.60
07/08/21        Photocopy Charges Duplication                                        12.00            1.20
07/08/21        Photocopy Charges Duplication                                        26.00            2.60
07/08/21        Photocopy Charges Duplication                                         8.00            0.80
07/08/21        Postage                                                               8.00            8.00
07/08/21        Postage                                                               1.00            1.20
07/13/21        Color Photocopy Charges Duplication                                 106.00           84.80
07/13/21        Photocopy Charges Duplication                                        41.00            4.10
07/15/21        Photocopy Charges Duplication                                        19.00            1.90
07/15/21        Postage                                                               8.00            8.00
07/15/21        Photocopy Charges Duplication                                        40.00            4.00
07/15/21        Photocopy Charges Duplication                                        36.00            3.60
07/19/21        Photocopy Charges Duplication                                        28.00            2.80
07/19/21        Photocopy Charges Duplication                                        23.00            2.30
07/20/21        Train fare (one way) on 6/9/21 for J. Patton from New York,           1.00          201.00
                NY to Wilmington, DE re: 6/7 - 6/9 mediation
07/20/21        Transportation on 6/8/21 in New York, NY for J. Patton re:            1.00           33.97
                6/7 - 6/9/21 mediation
07/20/21        Hotel/Lodging (2 nights, Park Hyatt New York) for J. Patton           1.00        1,000.00
                re: 6/7 - 6/9/21 mediation
07/20/21        Breakfast on 5/26/21 for E. Harron re: 5/26 and 5/27/21               1.00           30.00
                mediation in New York, NY
07/20/21        Hotel/Lodging (2 nights, The Langham Chicago) for E.                  1.00          704.40
                Harron re: 6/2 and 6/3/21 mediation


                                                                                                    Page Number 29
                     Case 20-10343-LSS           Doc 6099-3       Filed 08/20/21    Page 3 of 4
Patton, James L., Jr., Future Claimants' Representative         Invoice Date:                 August 11, 2021
                                                                Invoice Number:                    50026391
                                                                Matter Number:                  077494.1001

Date            Description                                                        Quantity        Amount
07/20/21        Hotel/Lodging (2 nights, Park Hyatt New York) for E. Harron            1.00        1,000.00
                re: 5/26 and 5/27/21 mediation
07/20/21        Breakfast on 6/2 and 6/3/21 for E. Harron re: 6/2 and 6/3/21           1.00           60.00
                mediation in Chicago, IL
07/22/21        Photocopy Charges Duplication                                         17.00            1.70
07/22/21        Photocopy Charges Duplication                                         32.00            3.20
07/22/21        Postage                                                                8.00            8.00
07/22/21        Color Photocopy Charges Duplication                                    3.00            2.40
07/23/21        Photocopy Charges Duplication                                         18.00            1.80
07/23/21        Photocopy Charges Duplication                                        137.00           13.70
07/23/21        Postage                                                                1.00            1.00
07/23/21        Photocopy Charges Duplication                                         44.00            4.40
07/23/21        Photocopy Charges Duplication                                         16.00            1.60
07/23/21        Photocopy Charges Duplication                                         41.00            4.10
07/23/21        Photocopy Charges Duplication                                         16.00            1.60
07/23/21        Photocopy Charges Duplication                                         19.00            1.90
07/23/21        Photocopy Charges Duplication                                         79.00            7.90
07/26/21        Hotel/Lodging (2 nights, Park Hyatt New York) for E. Harron            1.00        1,000.00
                re: 6/7 - 6/9/21 mediation
07/26/21        Lunch on 6/10/21 in New York, NY for R. Brady, E. Harron,              1.00          105.00
                and K. Quinn re: 6/7-6/10/21 mediation
07/26/21        Dinner in Chicago, IL on 6/2/2021 for R. Brady, E. Harron, J.          1.00          600.00
                Patton, A. O'Neill, J. Schulman, A. Slater, K. Quinn, and E.
                Grim re: 6/2 and 6/3/21 mediation
07/26/21        Hotel/Lodging (2 nights, Park Hyatt New York) for R. Brady             1.00        1,000.00
                re: 5/26 and 5/27/21 mediation
07/26/21        Airfare (round trip, coach) from Philadelphia, PA to Chicago,          1.00          444.80
                IL for R. Brady re: 6/2 and 6/3/21 mediation
07/26/21        Hotel/Lodging (2 nights, The Langham Chicago) for R.                   1.00          704.40
                Brady re: 6/2 and 6/3/21 mediation
07/26/21        Transportation (round trip) for R. Brady and E. Harron from            1.00          953.00
                Wilmington, DE to New York, NY for 6/7 - 6/9/21 mediation
07/26/21        Postage                                                                1.00            1.00
07/29/21        Photocopy Charges Duplication                                         12.00            1.20
07/29/21        Color Photocopy Charges Duplication                                    6.00            4.80

                                                                      Total                       $8,455.41




                                                                                                     Page Number 30
                     Case 20-10343-LSS           Doc 6099-3    Filed 08/20/21   Page 4 of 4
Patton, James L., Jr., Future Claimants' Representative       Invoice Date:             August 11, 2021
                                                              Invoice Number:                50026391
                                                              Matter Number:              077494.1001

Cost Summary

Description                                                                                    Amount
Air/Rail Travel                                                                                 645.80
Car/Bus/Subway Travel                                                                          1,261.97
Hotel/Lodging                                                                                  5,408.80
Postage                                                                                          27.20
Reproduction Charges                                                                            312.40
Teleconference / Video Conference                                                                  4.24
Travel Meals                                                                                    795.00

                                                                   Total                      $8,455.41




                                                                                                Page Number 31
